I dissent because this panel of the Full Commission had agreed to issue an opinion limited solely to restating the former panel's findings and conclusions, along with the additional stipulations on remand to the deputy commissioner, in order to facilitate an appeal to the North Carolina Court of Appeals. To the contrary, the majority purports to review the merits and has now rewritten the Opinion and Award for the Full Commission to recite, verbatim, additional findings requested by counsel for plaintiff in order to strengthen his case for the Appellate Division.
The Opinion and Award for the Full Commission issued 8 April 1997, amended 16 April 1997, along with the deputy commissioner's Opinion and Award on remand, is the law of this case. It is not appropriate for this panel, which is a different panel from the panel that reviewed the merits in 1997, to tamper with the 8 April 1997 Opinion and Award. The present panel did not sit to review the merits of this case. Accordingly, I cannot and do not concur in any of the findings and conclusions on the merits.
I would concur only in this: defendants may now appeal to the North Carolina Court of Appeals.
The procedural morass and unnecessary delay could have been avoided by a direct appeal from the deputy commissioner's opinion, which had resolved all issues in accordance with the 8 April 1997 Opinion and Award for the Full Commission.
S/_____________ RENEE C. RIGGSBEE COMMISSIONER